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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


MAIKEL T. SHONOUDA,

                               Plaintiff,
                                                            [PROPOSED]
        -    against -                                      DEFAULT JUDGMENT

CHARLES J. NAFIE ARCHITECT DPC,
and CHARLES J. NAFIE, individually,

                               Defendants.


        This action, having been commenced on August 13, 2017, with the filing of a
summons and complaint, a copy of the summons and complaint was served on defendants
Charles J. Nafie Architect DPC and Charles J. Nafie, individually, by serving the
pleadings on defendant by personal delivery to a person of suitable age who identified
herself as a co-worker, authorized to accept service; proof of service thereof was filed on
September 6, 2017. Defendants retained counsel who appeared but did not answer;
        Thereafter, on or about December 13, 2017, an application by counsel for
defendants to withdraw was granted and plaintiff has not thereafter retained counsel; and
the time for doing so having expired, it is
        ORDERED, ADJUDGED AND DECREED: that plaintiff Maikel T. Shonouda
has judgment against the defendants Charles J. Nafie Architect DPC and Charles J. Nafie,
individually, doing business at 30 East 60th Street, New York, New York 10022, in the
amount of $75,000; and Cilenti & Cooper, PLLC has judgment against defendants
Charles J. Nafie Architect DPC and Charles J. Nafie, individually, doing business at 30
East 60th Street, New York, New York 10022, in the amount of ~184, for attorneys'
fees and costs.
Dated: New York, New York
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